                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss. A case management conference was convened on July 10, 2008. Subsequently, written arguments were received.
Plaintiff seeks a reduction in the 2007-08 real market value (RMV) from $294,360 to $262,000. Even if Plaintiff were to receive such relief, the revised total would still lie above the Defendant's record maximum assessed value (MAV) at $138,170. As such, no tax change would occur and there would be no refund. Therefore, there is no real tax impact to the dispute; Plaintiff is not aggrieved.
So long as the property's maximum assessed value is less than its real market value, the
taxpayer is not aggrieved within the meaning of ORS 305.275 (2005).Parks Westsac L.L.C. v. *Page 2 
After considering the record, the court concludes that the case must be dismissed. Now, therefore,
IT IS THE DECISION OF THE COURT that appeal is dismissed.
Dated this ____ day of October 2008.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattson on October10, 2008. The Court filed and entered this document on October 10,2008. *Page 1 